                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                            CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,

        Plaintiff,
                                              No. 21-cr-41-LTS and 21-cr-2042-LTS
 vs.
                                             REPORT AND RECOMMENDATION
 EUGENE DAVIS,

        Defendant.
                                ____________________


       On September 28, 2021, the above-named defendant appeared before the
undersigned United States Magistrate Judge by consent and, pursuant to Federal Rule of
Criminal Procedure 11, pleaded guilty to Count 1 of the Indictment in case no. 21-cr-41,
Contempt of Court, in violation of 18 U.S.C. Section 401(3), and Count 1 of the
Indictment in case no. 21-cr-2042, Escape from Custody, in violation of 18 U.S.C.
Section 751. After cautioning and examining Defendant under oath concerning each of
the subjects mentioned in Rule 11, I determined that Defendant’s decision to plead guilty
was knowing and voluntary, and the offense charged was supported by an independent
basis in fact containing each of the essential elements of the offense.      I therefore
RECOMMEND that the Court ACCEPT Defendant’s guilty plea and adjudge
Defendant guilty.
       At the commencement of the Rule 11 proceeding, Defendant affirmed he would
tell the truth and I explained that if Defendant answered any question falsely, the
Government could prosecute Defendant for perjury or for making a false statement. I




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also advised Defendant that in any such prosecution, the Government could use against
Defendant any statements he made.
       I then asked Defendant a number of questions to ensure Defendant had the requisite
mental capacity to enter a plea. I elicited Defendant’s full name, age, and extent of
education. I also inquired into Defendant’s history of mental illness; use of illegal and/or
prescription drugs; and use of alcohol. From this inquiry, I determined Defendant was
not suffering from any mental disability that would impair Defendant’s ability to make a
knowing, intelligent, and voluntary guilty plea.
       Defendant acknowledged receipt of a copy of the Indictments and further
acknowledged that Defendant had fully discussed the Indictments with Defendant’s stand-
by counsel.     Defendant acknowledged that Defendant had fully conferred with
Defendant’s stand-by counsel prior to deciding to plead guilty and that Defendant was
satisfied with stand-by counsel’s services.
       I fully advised Defendant of all the rights Defendant would be giving up if
Defendant decided to plead guilty, including the following:
       1.     The right to assistance of counsel at every stage of the case;

       2.     The right to a speedy, public trial;

       3.     The right to have the case tried by a jury selected from a cross-section of
              the community;

       4.     That Defendant would be presumed innocent, and would be found not guilty
              unless the Government could prove each and every element of the offense
              beyond a reasonable doubt;

       5.     That Defendant would have the right to see and hear all of the Government’s
              witnesses, and would have the right to cross-examine any witnesses called
              by the Government;




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      6.     That Defendant would have the right to subpoena witnesses to testify at the
             trial, and if Defendant could not afford to pay the costs of bringing these
             witnesses to court, then the government would pay those costs;

      7.     That Defendant would have the privilege against self-incrimination: i.e.,
             Defendant could choose to testify at trial, but need not do so; if Defendant
             chose not to testify, then the Court would instruct the jury that it could not
             draw any adverse inference from Defendant’s decision not to testify; and

      8.     That any verdict by the jury would have to be unanimous.

      I explained that if Defendant pleaded guilty, Defendant would be giving up all of
these rights, there would be no trial, and Defendant would be adjudged guilty just as if
Defendant had gone to trial and a jury returned a guilty verdict against Defendant.
      • Plea Agreement
      I determined that Defendant was pleading guilty pursuant to the Third
Memorandum of a Proposed Plea Agreement between the United States Attorney’s Office
and Defendant (“the plea agreement”). After confirming that a copy of the written plea
agreement was in front of Defendant, I determined that Defendant understood the terms
of the plea agreement. I summarized the plea agreement, and made certain Defendant
understood its terms.
      • Elements of Crimes and Factual Basis
      I summarized the charges against Defendant and listed the elements of the crimes
charged. I determined that Defendant understood each and every element of the crimes,
and Defendant’s stand-by counsel confirmed that Defendant understood each and every
element of the crimes charged. For the offenses to which Defendant was pleading guilty,
I elicited a full and complete factual basis for all elements of the crimes charged in the
Indictments. Defendant and his stand-by attorney indicated that the offenses to which
Defendant was pleading guilty were factually supported.




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       • Sentencing
       I explained to Defendant that the district judge will determine the appropriate
sentence at the sentencing hearing. I explained that the Court will use the advisory United
States Sentencing Guidelines to calculate Defendant’s sentence. I explained that the
sentence imposed might be different from what the advisory guidelines suggest it should
be and may be different from what Defendant and his stand-by attorney may have
estimated.
       I explained that a probation officer will prepare a written presentence investigation
report and that Defendant will have an opportunity to read the presentence report before
the sentencing hearing and will have the opportunity to object to the contents of the report.
I further explained that Defendant will be afforded the opportunity to present evidence
and be heard at the sentencing hearing.
       I advised Defendant of the consequences of the guilty plea, including, the
maximum term of imprisonment, the maximum term of supervised release, and the
maximum fine. Specifically, I advised Defendant that Count 1 of the Indictment
(Escape) is punishable by the following maximum penalties: (1) not more than five
years in prison without the possibility of parole; (2) a period of supervised release
following prison of not more than three years; (3) a fine of not more than $250,000;
and (4) a mandatory special assessment of $100. I advised Defendant that Count 1 of
the Indictment (Contempt) is punishable by the following maximum penalties: (1) any
term of imprisonment the Court finds appropriate in its discretion; (2) a period of
supervised release following prison of not more than five years; (3) a fine of not more
than $250,000; and (4) a mandatory special assessment of $100.
       I further advised Defendant that the entry of the guilty pleas in this matter may
also be used as an admission regarding violating the term of supervised release in case
number 09-cr-52 and the term of probation in case number 21-cr-3.



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       I explained that the Court will impose conditions of supervised release, and that if
Defendant violates a condition of supervised release, then the Court could revoke
Defendant’s supervised release and require Defendant to serve all or part of the term of
supervised release in prison, without credit for time previously served on supervised
release. I advised Defendant that regardless of the sentence imposed, there would be no
possibility of parole. I advised Defendant of the collateral consequences of pleading
guilty. Defendant acknowledged understanding all of the above consequences.
       I also explained that both the Government and Defendant have the right to appeal
Defendant’s sentence.
       Defendant confirmed that the decision to plead guilty was voluntary; was not the
result of any promises; and was not the result of anyone threatening, forcing, or
pressuring Defendant to plead guilty. I explained that after the district judge accepts
Defendant’s guilty pleas, Defendant will have no right to withdraw the pleas at a later
date, even if the sentence imposed is different from what Defendant anticipated.
       Defendant confirmed that Defendant still wished to plead guilty, and Defendant
pleaded guilty to Count 1 of the Indictment in case no. 21-cr-41 and Count 1 of the
Indictment in case no. 21-cr-2042.
I find the following with respect to the guilty pleas:
       1.     Defendant’s pleas are voluntary; knowing; not the result of force, threats
              or promise; and Defendant is fully competent.

       2.     Defendant is aware of the minimum and maximum punishment for the
              counts to which Defendant pleaded guilty.

       3.     Defendant knows of and voluntarily waived Defendant’s jury trial rights.

       4.     There is a factual basis for the pleas.

       5.     Defendant is guilty of the crimes to which Defendant pleaded guilty.




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       I explained that the Parties have fourteen (14) days from the filing of this Report
and Recommendation to file any objections to my findings, and that if no objections are
made, then the district judge may accept Defendant’s guilty pleas by simply entering a
written order doing so. 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b). But see, United
States v. Cortez-Hernandez, 673 Fed. App’x 587, 590-91 (8th Cir. 2016) (per curiam)
(suggesting that a Defendant may have the right to de novo review of a magistrate judge’s
recommendation to accept a plea of guilty even if no objection is filed). The district court
judge will undertake a de novo review of the Report and Recommendation if a written
request for such review is filed within fourteen (14) days after this Report and
Recommendation is filed.
DONE AND ENTERED at Cedar Rapids, Iowa, this 29th day of September, 2021.




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